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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

In re: Case No.
Chapter 7 (I)
Brian Dickens,

Debtor.
/

 

MOTION TO TRANSFER VENUE TO THE
PENSACOLA DIVISION

COMES NOW the Debtor by and through his attorney of record
and respectfully requests this Honorable Court to move the venue of
the Debtor's Chapter 7 (I) bankruptcy case to the Pensacola Division
and in support thereof states as follows:

1. This case was originally filed on June 3, 2021.

2. Debtor lives in Caryville, FL, which falls into the
jurisdiction of the Panama City Division of the Northern District of
Florida.

3. It is more convenient for Debtor's Attorney to attend Court
in Pensacola for the 341 Meeting of Creditors. There is not much
difference in travel time for the Debtor between attending Court in

either Pensacola or Tallahassee.

 
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4. Debtor states that there shall not be any prejudice to any
creditors by changing the venue to Pensacola.

WHEREFORE PREMISES CONSIDERED, the Debtor prays
this Honorable Court will transfer the venue of his Chapter 7 (I) case
to the Pensacola Division of the Northern District and for such other,
further, and different relief as may be appropriate under the

circumstances.

 

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Attorney for Debtor

OF COUNSEL:

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CERTIFICATE OF SERVICE
| HEREBY CERTIFY that a true and accurate copy of the
foregoing Motion to Transfer Venue has been submitted to those

listed below by lo email or by first class mail, postage prepaid

on this the 3" day of June 2021.

&

 

OF COUNSEL

Office of United State Trustee
USTPRegion21.TL.ECF@usdoj.gov

Brian Dickens
58 93 Douglas Ferry Rd
Caryville, FL 32427
